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 Attorneys for Defendant Experian Information
   Solutions, Inc.


                                         UNITED STATES DISTRICT COURT

                                          FOR THE DISTRICT OF IDAHO

 DALE AUSTIN,                                             Case No. 1:21-cv-00170-CRK

                            Plaintiff,
                                                          DEFENDANT EXPERIAN
          v.                                              INFORMATION SOLUTIONS, INC.’S
                                                          CORPORATE DISCLOSURE
 EXPERIAN INFORMATION SOLUTIONS,                          STATEMENT
 INC. and CACH, LLC,

                            Defendants.


         Pursuant to Federal Rule of Civil Procedure 7.1, the undersigned counsel of record for

Experian Information Solutions, Inc. (“Experian”), hereby certifies that the following listed

parties have a direct, pecuniary interest in the outcome of this case. This certification is made to

enable the Court to evaluate possible disqualification or recusal:

         1.        Parent Companies: The ultimate parent company of Experian is Experian plc.

         2.        Subsidiaries Not Wholly Owned: The following companies are the U.S.-based

subsidiaries of Experian plc that are not wholly owned:

                   (a)        Central Source LLC

                   (b)        Online Data Exchange LLC

                   (c)        New Management Services LLC

DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.’S CORPORATE
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                   (d)      VantageScore Solutions LLC

                   (e)      Opt-Out Services LLC

         3.        Publicly Held Companies: Experian plc owns 100 percent of Experian.

Experian plc is registered as a public company in Jersey, Channel Islands and is publicly traded

on the London Stock Exchange



          DATED: June 29, 2021.

                                                     STOEL RIVES LLP


                                                     /s/ W. Christopher Pooser
                                                     W. Christopher Pooser, Esq.

                                                     Attorneys for Defendant Experian Information
                                                       Solutions, Inc.




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 29th day of June, 2021, I filed the foregoing
DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.’S CORPORATE
DISCLOSURE STATEMENT electronically through the CM/ECF system, which caused the
following to be served by electronic means:

Barkley B. Smith
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barkley@barkleysmithlaw.com



                                             /s/ W. Christopher Pooser
                                             W. Christopher Pooser




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